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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF WISCONSIN


ABS GLOBAL, INC.,

              Plaintiff/Counterclaim Defendant,                OPINION AND ORDER
       v.
                                                                    14-cv-503-wmc
INGURAN, LLC,

              Defendant/Counterclaimant/Third-Party Plaintiff,

       and

XY, LLC,
              Intervening Defendant/Counterclaimant/Third-Party Plaintiff,

       v.

GENUS PLC,

              Third-Party Defendant.


       The court previously entered a final judgment in this action, awarding: (1)

permanent injunctive relief to plaintiff ABS Global, Inc., under Section 16 of the Clayton

Act; and (2) damages and ongoing royalties to defendants Inguran, LLC (“ST”) and XY,

LLC, for trade secret misappropriation and patent infringement, as well as nominal

damages for breach of contract. (Dkt. #790.) Still pending before the court are the parties’

motions for attorneys’ fees and costs. (Dkt. ##807, 810, 814, 817.) For the reasons that

follow, the court will grant in part and deny in part ABS’s petitions, awarding

$4,865,324.13 in attorneys’ fees and $129,392.99 in costs under 15 U.S.C. § 26. As to

ST and XY, the court will deny their petitions for attorneys’ fees, but will grant in part and
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deny in part ST’s petition for costs, awarding $151,152.26 as the prevailing party under

Federal Rule of Civil Procedure 54(d).


                                            OPINION 1

I. ABS Fee Request 2

       Section 16 of the Clayton Act provides that “when the plaintiff substantially

prevails [in obtaining an antitrust injunction], the court shall award the cost of suit,

including a reasonable attorney’s fee, to such plaintiff.” 15 U.S.C. § 26; see also Blue Cross

& Blue Shield United of Wis. v. Marshfield Clinic, 152 F.3d 588, 595 (7th Cir. 1998) (“[15

U.S.C. § 16] is explicit in allowing an award of attorney’s fees when only injunctive relief

is sought or awarded.”). Because ABS substantially prevailed in obtaining an antitrust

injunction, it has “a prima facie entitlement to an award of some of the attorneys’ fees and

court costs that it incurred.” Marshfield Clinic, 152 F.3d at 595. At the same time, all

parties agree that ABS “is not . . . entitled to fees and costs allocable to claims and theories

that neither succeeded, nor contributed to the limited victory that it has obtained.” Id.; see

also Hensley v. Eckerhart, 461 U.S. 424, 436 (1983) (“If . . . a plaintiff has only achieved

partial or limited success, the product of hours reasonably expended on the litigation as a

whole times a reasonable hourly rate may be an excessive amount.”).



1
 A detailed description of the facts of this case may be found in the court’s summary judgment
order. (Dkt. #572.)

2
  ABS sought leave to file a reply brief in support of its motion for fees (dkt. #847), which
defendants opposed. Ordinarily, the court would deny such a request, but given the unique legal
issues pressed in defendant’s opposition to that fee request, the court will grant the motion and has
considered the reply, as well as defendants’ opposition to the motion for leave (dkt. #855), which
reads in many ways as a surreply -- something this court would otherwise have surely denied.

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       Determining which fees are reasonable requires the court’s exercise of discretion,

with the movant having the burden to establish the amount of reasonably compensable

fees. See Ohio-Sealy Mattress Mfg. Co. v. Sealy Inc., 776 F.2d 646, 650 (7th Cir. 1985). In

City of Burlington v. Dague, 505 U.S. 557 (1992), the United States Supreme Court directed

that reasonable fees under section 16 of the Clayton Act be determined using the “lodestar”

approach -- “the product of reasonable hours times a reasonable rate.” Id. at 559-62; see

Pickett v. Sheridan Health Care Ctr., 664 F.3d 632, 639 (7th Cir. 2011) (“There is a strong

presumption that the lodestar calculation yields a reasonable attorneys’ fee award.”).

Where appropriate, the lodestar approach also calls for adjusting downward to reflect

limited success achieved in the litigation, with the understanding that “courts may award

compensation for time spent pursuing unsuccessful claims that related to the successful

claims.” Shott v. Rush-Presbyterian-St. Luke’s Med. Ctr., 338 F.3d 736, 739 (7th Cir. 2003)

(citing Hensley, 461 U.S. at 436-37).

       Here, ABS asserts that it is entitled to fees in the amount of $5,402,212.87, which

were incurred “only for work directly related or contributing to the success of ABS’s claim

that ST was a monopolist that engaged in anticompetitive contracting practices to preserve

its monopoly.” (Pl.’s Opening Br. (dkt. #811) at 5.) For the most part, ABS has done an

impressive job of limiting its fee request to work related to its successful claim before the

jury -- that defendants used unreasonable, contractual restraints of trade to prevent entry

and maintain its monopoly position in the U.S. market for sexed semen processing services,

which resulted in entry of a permanent injunction. Indeed, ABS excluded whole time

entries and categories of work despite their being portions of both that overlapped with its


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successful claim. (Decl. of Kevin M. Fee in support of ABS’s Motion for Attorney’s Fees

(dkt. #812) ¶¶ 6-13.) ABS then determined the starting point for its fee request by

multiplying the plainly relevant time entries by the corresponding, discounted attorneys’

billing rates negotiated at the outset of its engagement of lead counsel, Sidley Austin LLP.

(Id.) 3

           For its part, defendants do not dispute that ABS is entitled to reasonable fees under

the Clayton Act. Having opted not to disclose the fees paid to their counsel, nor their

hours billed and hourly rate, defendants also do not dispute the reasonableness of hours

spent by Sidley and its local counsel, nor the hourly rates charged. Instead, defendants

argue that ABS’s claimed fees are inflated by: (a) an unrecoverable “bonus” payment to

counsel; (b) fees for unrecoverable clerical work or for work described in impermissibly

vague terms; and (c) a failure to reduce fees to reflect the limited success achieved on its

monopolization claim. Each argument is addressed below.


           A. “Bonus” payment to plaintiff’s counsel

           Defendants first dispute plaintiffs ABS and Genus’s request for reimbursement of a

lump sum invoice of $535,424.16 payable to Sidley, which was ostensibly triggered by the

results achieved at trial. The basis for this payment is the original engagement letter

between plaintiffs and Sidley, which calls for a 27.75% discount on “Sidley standard rates”

for billing purposes, but allows for “additional bonus amounts” depending on the results




3
  ABS appears to have used the same methodology with respect for work done by contract and local
lawyers. (Fee Decl. (dkt. #812), ¶¶ 19-21.) Since defendants’ do not object to the award of those
fees as requested, the court will not address them further.

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actually obtained in the litigation. Because this “sliding scale discount arrangement” was

negotiated upfront and at arms-length, plaintiffs argue that any bonus payment was

essentially “baked into” their presumptively reasonable, market-rate legal fees for purposes

of calculating the lodestar in this case. See Pressley v. Haeger, 977 F.2d 295, 299 (7th Cir.

1992) (fee awards should “determine what the lawyer would receive if he were selling his

services in the market”).

       In contrast, defendants ST and XY characterize this additional sum as the

contingent payment of a “fee enhancement bonus,” which the Supreme Court’s 1992

decision in Dague expressly prohibits in an award to a prevailing plaintiff under Section 16

of the Clayton Act. See Barrow v. Falck, 977 F.2d 1100, 1105 (7th Cir. 1992) (citing Dague

for the proposition that hourly rate “enhancements” in the form of contingent fee

“bonus[es] for winning” are prohibited under fee-shifting statutes).         As support for

enforcing this prohibition, defendants quote the actual terms of plaintiff’s engagement

letter with Sidley, which provide for the possibility of: (1) a “Client satisfaction bonus” to

be determined “in the sole discretion of Genus plc” at an unspecified “amount” not to

exceed 10% of the total invoice at the end of the engagement (after adjusting to 85% of

Sidley standard rates, rather than the 72.25% of the standard rate initially paid); and (2)

a “success bonus” based on counsel obtaining “either a settlement or judgment that allows

ABS to operate on the IP front on a sustainable basis (such as through payment of a

reasonable royalty and avoidance of excessive contract penalties),” preset at 20% “[i]f ABS

can first begin operations in 2014 or 2015,” reduced to 15% for operation in 2016, and

10% in 2017. (Fee Decl., Ex. C (dkt. #812-6) 3.)


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        Defendants point out that ABS’s opening brief in support of its fee request does not

identify whether the bonus payment sought is based on a wholly-discretionary, “client

satisfaction” bonus or a bench-marked, “success” bonus of 10% based on ABS beginning

operations in 2017, or both, stating only that “the actual results at trial warranted a

reduced discount.” (Pl.’s Opening Br. (dkt. #811) 8.) Defendants argue that this failure

alone should result in a finding that plaintiff failed to meet its burden of proving the

reasonableness of this “bonus” fee request. The court disagrees. Even defendants readily

deduced that the payment is likely a “success bonus,” which ABS confirms in its reply,

since it not only matches the fixed, ten percent of overall fees sought for obtaining

injunctive relief after proving antitrust liability, but also matches the percentage called for

in the letter if ABS is able to begin operations in 2017 under an established royalty rate. 4

        Defendants next argue that permitting counsel to recover the payment under the

success bonus would award them fees for claims on which they lost at trial, since “ST

proved its patents were valid and infringed, and they elected to receive an ongoing royalty

instead of seeking a permanent injunction.” (Defs.’ Opp’n Br. (dkt. #841) 5.) In other

words, defendants argue, the litigation resulted in ABS being permitted to launch its sexed

semen sorting operation despite being on the wrong end of ST’s patent infringement




4
  The court agrees with defendants that ABS should have spelled out in its initial fee request the
specific, contractual basis for the invoiced bonus. Having said that, the invoice itself states the charge
is for “success bonus per March 19, 2014, engagement letter,” eliminating any arguable ambiguity,
as does the actual calculation of the 10% bonus that follows. (Dkt. #812-7.) Were the record not
so clear, so that some or all of the bonus paid was at “the sole discretion of Genus,” the court agrees
that ABS’s claim for a fee enhancement would be more problematic, since it would effectively
amount to plaintiff’s agreeing to an award of an additional bonus for its counsel purely at
defendants’ expense.

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counterclaims, rather than because of its monopolization claim. Again, the court disagrees.

Defendants define the success ABS achieved by obtaining an injunction far too narrowly.

Although ABS did not prove that it was entitled to all of the relief it sought, it was able to

launch its competing technology before the termination of the 2012 Agreement by virtue

of showing that ST was maintaining its monopoly position in the market for sexed semen

processing services in the United States by effectively blocking new competitors through

the use of exclusive (or effectively exclusive) long-term supply contracts with the very

customers that ABS needed to sell their new processing services. Contrary to defendants’

assertion, therefore, ABS’s ability to launch its services is directly related “to ABS obtaining

an injunction under the Clayton Act” that voided some of these contractual provisions.

(Defs.’ Opp’n Br. (dkt. #841) 5.) Moreover, since ABS is only seeking reimbursement at

an enhanced hourly rate on hours actually spent working on its successful antitrust claim,

defendants offer no basis to conclude that the fees sought are for work on ABS’s

unsuccessful patent or other claims.

       The nature of the invoice presents a different problem for ABS, however, since

Sidley’s success did not trigger an automatic bonus on all work performed in this case as

called for by the express terms of the engagement letter. Rather, the invoiced “bonus” only

applied an enhanced hourly rate to the hours that would be reimbursed by defendants.

Had the invoice been for all work done as called for by the engagement letter, and ABS

were now seeking the portion attributable to hours spent on its successful antitrust claim,

it would have a stronger argument that the heightened hourly rate was in fact “baked in”

to the original fee agreement between ABS and Sidley. Instead, ABS has failed to prove


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this bonus payment, even framed as a smaller hourly fee discount “based upon the results

achieved” (rather than a bonus for prevailing in the lawsuit), is compensable under the

lodestar approach required by Dague. On the contrary, other than that it was negotiated

at the outset of suit, ABS offers no reason to depart from the general principle that a

traditional lodestar approach provides the presumptively reasonable fee amount. Indeed,

regardless of how it is framed, the bonus payment amounts to an enhancement “above the

‘lodestar’ amount” rejected by the Supreme Court in Dague.          505 U.S. at 559.      Cf.

Checkpoint Sys., Inc. v. All-Tag Sec. S.A., Civil Action No. 01-CV-2223, 2011 WL 5237573,

at *5 (Nov. 2, 2011), vacated on other grounds, 572 F. App’x 988 (Fed. Cir. 2014) (finding

that a “litigation success bonus” was unreasonable, since it “represent[ed] a form of

duplication of the amounts allegedly paid to compensate Pepper Hamilton counsel for

work performed in defending the lawsuit”).

       While ABS makes a persuasive case distinguishing itself from the facts in Barrow v.

Falck, 977 F.2d 1100 (7th Cir. 1992), on which defendants principally rely in opposing

this fee enhancement, ABS’s reply underscores the problem with its claim for a “success

bonus.” The Seventh Circuit rejected an ultimate $135 per hour rate for a lawyer who had

charged his client between $88 and $110 per hour, based simply on an “affidavit from a

member of the local bar” that the “market rate for attorneys possessing the ‘experience,

qualifications, reputation and ability’ of plaintiff’s lawyer is $135 per hour.” Id. at 1104-

05. As the Seventh Circuit emphasized in rejecting the higher hourly rate, the lodestar

approach requires that the court “stick to the market rate for the attorneys’ time,” and the

amount actually paid to “this attorney at a market rate of $110 or less.” Id. at 1105


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(emphasis in original). The difference here, according to ABS, is that it has agreed to make

the additional $535,424.16 payment, thereby establishing the actual “market rate” for

Sidley attorneys in this case. (Pl.’s Reply Br. (dkt. #847-1) at 2.)

        While this distinguishes Barrow on its facts, it does not solve ABS’s Dague problem.

That ABS negotiated with Sidley for a market rate to include a contingent component is not

enough. The same could be said of the contingent fee agreed to in Dague, which a majority

of United States Supreme Court found was not a proper consideration in the lodestar

analysis.   505 U.S. at 563-64.          And unless and until that Court or Congress decide

otherwise, there would appear no basis to award a contingent or quasi-contingent payment

where a lodestar analysis is required. 5

        This is not to hold that ABS could not have made a case for a higher hourly rate

than the discounted rate negotiated at the outset of its engagement using the lodestar

approach. If anything, the fact that Sidley had negotiated a substantial discount from its




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  Of course, the approach adopted in Dague has been criticized, and its strict interpretation rejected
under other federal and state statutes. See, e.g., Polselli v. Nationwide Mut. Fire Ins. Co., 126 F.3d
524, 535 (3d Cir. 1997) (“The Dague majority found no justification for recognizing a common
law enhancement for contingent risk; a statutory provision requiring consideration of enhancement
would have been quite another matter.”); Clinchfield Coal Co. v. Harris, 149 F.3d 307, 309–10 (4th
Cir. 1998) (“All the parties to this consolidated appeal agree that [Dague is] inapposite to this case,
which involves an interpretation of different statutory language—the word “thereafter” rather than
“reasonable.”); Florin v. Nationsbank of Georgia, N.A., 34 F.3d 560, 564 (7th Cir. 1994) (“Dague, by
its terms, applies only to statutory fee-shifting cases, and its reasoning is largely based on the
statutory language of fee-shifting provisions.”); In re Washington Pub. Power Supply Sys. Sec. Litig., 19
F.3d 1291, 1301 (9th Cir. 1994) (“[T]he concerns expressed in Dague about unduly burdening
losing parties in statutory fee cases are not present in common fund cases where fees are paid out
of the settlement fund.”); Joyce v. Federated Nat'l Ins. Co., 228 So. 3d 1122, 1132 (Fla. 2017)
(“[W]ith all due deference to the United States Supreme Court, we do not accept
the Dague majority's rationale for rejecting contingency fee multipliers.”); Schefke v. Reliable Collection
Agency, Ltd., 96 Haw. 408, 450, 32 P.3d 52, 94 (2001), as amended (Oct. 11, 2001) (“We conclude
that Dague 's . . . dissenting opinion[] . . . [is] better reasoned than Dague's majority opinion.”).

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so-called “Standard Rates,” suggests that the lawyers working on this matter may have been

regularly charging higher rates for similar work.        If so, that fact could overcome the

presumption of the negotiated hourly rate being the best evidence of the true market rate,

particularly bolstered by the enhancement ABS was willing to pay. Unfortunately for ABS

and its counsel, no affidavits or other evidence from counsel or third-party attorneys

support this court finding that the “Sidley Standard Rate” (or the lower discounted rate

reflected in the 10% bonus) is a better indication of the reasonable market rate for these

lawyers’ services. See Dague, 505 U.S. at 565-67 (recognizing that “the lodestar model

often (perhaps generally) results in a larger fee award than the contingent fee model”).

Aside from these other evidentiary failings in ABS’s submissions, there is also the fact that

plaintiff merely provides an invoice for remittance, rather than proof of payment like the

other, regular invoices, reinforcing the likelihood that this “bonus,” rather than

representing a reasonable market rate, will only be paid if defendants are ordered to do so.

Indeed, in light of ABS’s apparent unwillingness to honor the higher hourly rate in the

“success bonus,” except on hours that defendants’ would have to pay, the deeper

discounted rates would appear to be the market rate negotiated at arm’s length.

       Finally, in light of the results that plaintiffs achieved at trial, which fell well short of

total victory, awarding a sizeable, additional payment -- a ten percent chunk of

compensable fees -- required ABS to come forward with stronger proof that this higher

hourly rate was reasonable in the market place, particularly when it appears inconsistent

with the principle that the lodestar should not be adjusted upward or downward due to a

contingent fee arrangement. See Pickett, 664 F.3d 632, 644-45 (7th Cir. 2011). Having


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failed to demonstrate that this enhancement should be included under the lodestar

approach required by Dague, plaintiffs will not be awarded the $535,424.16 success bonus.


       B. Particular time entries

       Defendants also object to certain time entries for which ABS seeks fees. Specifically,

defendants argue that plaintiff is not entitled to recover fees for approximately 430 hours

of “clerical work,” including “assembling binders, counting document pages, and updating

indices of documents,” which defendants contrast with “substantive tasks” that parties can

recover at paralegal rates, such as “reading exhibits, drafting and filing pleadings, and

preparing discovery requests.” (Defs.’ Opp’n Br. (dkt. #841) 6 (citing Reynolds v. EOS

CCA, No. 1:14-cv-01868-JMS-DML, 2016 U.S. Dist. Lexis 161706, at *16 (S.D. Ind. Nov.

22, 2016).) Defendants also argue that ABS seeks to recover fees for over 300 hours of

time for what is described as impermissibly “vague” entries. (Id. at 7.)

       1. Clerical work

       As for defendants’ objection to so-called clerical work, the Supreme Court

recognized in Missouri v. Jenkins, 491 U.S. 274 (1989), a gray area between legal work that

paralegals are capable of performing as well as attorneys and “non-legal work” that can be

accomplished by non-lawyers. Id. at 288 (citing Johnson v. Ga. Highway Express, 488 F.2d

714, 717 (5th Cir. 1974)); see also Montanez v. Simon, 755 F.3d 547, 555 (7th Cir. 2014)

(district court did not abuse discretion by excluding time billed for clerical work, including

scanning and faxing performed by a partner). A review of the time entries that defendants

argue fall into the non-legal or clerical reveals several, general categories of work that at

worst fall into this gray area: (1) updating folders; (2) preparing binders for various

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purposes, including for contract attorneys, training, witnesses and exhibits; (3) drafting

and updating lists and indices, including for document production and deposition exhibits;

(4) determining the number of document pages produced; (5) keeping track of documents

to be used by expert witnesses; and (6) updating billing time entries.

       Because each of these tasks may well include “legal” (or at least professional)

judgment as to what to include, in what order and why, the court disagrees with defendants

that they are per se non-compensable. At the very least, most of these tasks as described

fall in the gray area of legal work that can be shared between attorneys and paralegals. The

obvious exceptions are for time spent counting pages, “tracking documents sent to [an]

expert,” researching prices for court reporting vendors, and loading deposition videos onto

a shared drive. With these entries excluded at the applicable hourly rate for the individual

who performed them, plaintiff’s reasonable fees are reduced by $1,467.58. To the extent

some other entries might arguably be excluded, a further reduction strikes this court as

inappropriate in light of ABS’s overall, good faith efforts to include only compensable time

and loss of any upgrade from what appear on their face to be discounted hourly rates. Plus,

defendants refused to produce their own counsel’s billing records, making it impossible to

determine if the same work was deemed compensable legal work. Given this decision, ABS

is entitled to the benefit of the doubt.

       2. Vague entries

       Defendants’ alternative criticism is that a number of time entries describe “vague

tasks.” This argument fares little better. Certainly, the court has the discretion to reduce

fee awards when the requesting party fails to adequately document what work time is being


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compensated. See Ohio-Sealy, 776 F.2d at 658 (district court did not abuse discretion for

reducing fee award for vagueness). Here, defendants argue that the plaintiffs’ descriptions

for over 300 hours of work neglect to provide “information linking them to this litigation,

and [any] information of the subjects involved or the topics discussed.” (Defs.’ Opp’n Br.

(dkt. #841) at 7.) In particular, many of the time entries that defendants identify as overly

vague concern time spent preparing for and participating in meetings and phone calls with

the client and other attorneys, most of which fail to specify which issues or claims the work

concerned.

        Obviously, the inclusion of some of this general time is in tension with plaintiff’s

assertions that: (1) “ABS has excluded from its Petition attorney time entries that did not

directly relate or contribute to the success of the monopolization claim”; and (2) “ABS

further reduced the fees it seeks by excising portions of attorney time entries that

referenced work both related and unrelated to the successful claim, but did not specify the

amount of time focused on compensable work.” (Pl.’s Opening Br. (dkt. #811) at 5-6.)

However, plaintiff also identifies several different categories of work that it did not include

in its fee request despite being related at least in part to its successful antitrust claim. (Pl.’s

Opening Br. (dkt. #811) at 6.) Moreover, the monopolization claim did not depend on a

discrete set of legal theories and evidence, making it “difficult to divide the hours expended

on a claim-by-claim basis.” Hensley, 461 U.S. at 435. For this reason, it is difficult to fault

plaintiff for spending approximately 300 hours on matters related to strategy in what was

a relatively complex, antitrust claim, which both sides litigated vigorously for well over two

years. Finally, again, defendants refused to disclose comparable billing records for its


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counsel, making it more likely than not that its own bills reflect similar or more time spent

on the antitrust claims here. Accordingly, the court again exercises its discretion in refusing

to discount plaintiff’s requested fee award further on the basis that certain descriptions in

time entries could have been more specific.

       C. Degree of Success

       Finally, defendants insist that a global reduction of half of plaintiff’s fee request is

appropriate to account for its limited success in this case. (Def.’s Opp’n Br. (dkt. #841)

8-13.) Obviously, “[n]o algorithm [exists] . . . for adjusting a lodestar to reflect partial or

limited success.” Montanez, 755 F.3d at 557 (citing Richardson v. City of Chi., 740 F.3d

1099, 1103 (7th Cir. 2014)). “When the judge cannot easily separate the successful and

unsuccessful work,” therefore, “there is nothing to do but make an across-the-board

reduction that seems appropriate in light of the ratio between winning and losing claims.”

Id.

       Even with the reductions described above, plaintiff is still seeking a fee award that

approaches $5 million. Defendants argue that such an award would be unreasonable in

light of the marked limitations on plaintiff’s success: (1) plaintiff did not achieve the full

scope of its desired permanent injunction; (2) plaintiff failed to show any antitrust injury

entitling it to monetary damages; (3) defendants were awarded sizable damages on their

patent infringement and trade secret misappropriation claims; and (4) the jury found in

favor of ST on its breach of contract claim. At the same time, in addition to obtaining

injunctive relief permitting it to launch technology to compete immediately for the

business of bull studs, plaintiff ABS did prevail on some contract-related issues, including


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that: (1) the research and development of its competing technology was permitted under

the 2012 Agreement; (2) the liquidated damages provision in the 2012 Agreement was

unenforceable under Texas law; and (3) the non-competition provisions in the 2012

Agreement were unenforceable under Texas law as written. Still, defendants would further

discount ABS’s request for fees regarding the antitrust relief, pointing out that the majority

of work identified as pertaining specifically to the injunction did not take place until after

the jury rendered an adverse verdict on plaintiff’s claimed antitrust injury.

       In considering a global reduction to the lodestar, the court is guided by Seventh

Circuit precedent that restricts district courts from reducing a fee request “by an arbitrary

percentage because it seem[s] excessive to the court,” and even if a global reduction is

appropriate, courts must not “engage in double-counting.” Spellan v. Bd. of Ed. for Dist.

111, 59 F.3d 642, 647 (7th Cir. 1995) (quoting Tomazzoli v. Sheedy, 804 F.2d 93, 97 (7th

Cir. 1986)). Here, plaintiff took pains to limit its requested fee award to the aspects of its

monopolization claim on which it actually prevailed, including reductions in requested fees

for time spent reviewing documents by 45%, based on its analysis of the proportion of a

random sample of documents that were related specifically to the antitrust claim.

Ultimately, those efforts resulted in a request of approximately 39% of the fees that Sidley

billed to ABS for its work on this case (a percentage that has been further reduced based

on the court’s rulings above). And this is on top of a seemingly sizable discount off of

“Sidley Standard Rates,” whatever those may actually be.

       Taking into consideration the outcome of the litigation as a whole, accounting for

the complexity of this case and accepting as credible the sizeable good faith exclusions


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made from plaintiff’s fee request already, the court finds that no further, across-the-board

reduction in the fees is necessary to render the award reasonable, particularly where

defendants have declined to disclose their own legal fees incurred in this matter.

       Accordingly, the court’s fee deductions and final fee award to ABS is summarized

as follows:

                                  Initial Request                  Deductions

 Total Fees                       $5,402,212.87

 Subtraction for Additional                                        $535,421.16
 Charge Based on Result
 Subtraction for Clerical Cooper 2015 -- $1,354.69                 $   1,467.58
 Work                       (6.25 hours)

                                  Buettner 2016 -- $112.89
                                  (1.25 hours)
                                                                   Final Award: $4,865,324.13




II. Defendants Fee Request

       Defendant XY also moves for an award of fees under the Wisconsin Uniform Trade

Secrets Act (“WUTSA”) for prevailing on its misappropriation claim, while defendant ST

moves for fees under Texas law for prevailing on its breach of contract claim. 6 Plaintiffs

ABS and Genus oppose both requests. First, plaintiff argues that XY cannot show ABS’s

misappropriation of trade secrets meets the knowledge standard for obtaining fees; and

second, plaintiff contends that ST failed to demand a specific amount for the claimed



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  Defendants acknowledge that recovering fees for both claims may result in an impermissible
double recovery, which they suggest could be addressed by allowing them to elect the most favorable
award. Since that issue is moot for the reasons explained below, the court need not address it
further.

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breach of contract, as required by Texas law to recover fees, and failed to recover actual

damages on that claim. The court addresses these requests separately below.


       A. Trade secret misappropriation

       The parties’ primary dispute concerns a fee award based on ABS’s trade secret

misappropriation claim, which turns on whether defendant XY has proven, or could prove,

the required state of mind under the Wisconsin Uniform Trade Secrets Act (“WUTSA”).

See Wis. Stat. § 134.90(4)(c) (court may award reasonable fees to the prevailing party when

trade secret misappropriation was “willful and deliberate”). In particular, XY argues that

because the Wisconsin legislature specifically rejected adopting the Uniform Trade Secret

Act (“UTSA”) standard for awarding fees for “willful and malicious” misappropriation, a

showing of malice is not required under WUTSA. See Racine Unified Sch. Dist. v. Labor &

Indus. Review Comm’n, 164 Wis. 2d 567, 567 n.6, 476 N.W.2d 707 (Ct. App. 1991)

(“Where . . . the legislature has ‘borrowed’ from analogous federal legislation, differences

in the language of [the statutes] must be presumed the result of deliberate choice exercised

by the legislature.”). Because the terms “willful” and “deliberate” are neither defined by

WUTSA nor by the Wisconsin courts, XY further contends that Black’s Law Dictionary

supplies the appropriate definition of willful, meaning “voluntary and intentional, but not

necessarily malicious,” as well as deliberate, meaning “intentional” or “pre-meditated.”

(Defs.’ Opening Br. (dkt. #808) 3.)

       According to XY, the evidence supporting its trade secret misappropriation claim --

namely, that Kathy Mean intentionally took XY’s trade secrets and used them for ABS’s

benefit despite knowing that those actions were prohibited -- was more than enough to

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meet this definition of “willful and deliberate.” XY adds that ABS’s conduct related to the

trade secret misappropriation claim supports an award of fees, because: (1) it did not

investigate Mean’s use of XY’s information timely and thoroughly; and (2) it contested

liability all the way up to the eve of trial and only then stipulated to Mean’s

misappropriation for the purpose of attempting to keep this evidence from the jury.

        In line with a familiar theme throughout this litigation, plaintiff ABS initially argues

that XY abandoned any claim for willful and deliberate misappropriation by failing to

present it to the jury, ignoring that ABS stipulated to liability based on its employee Mean’s

use of XY’s trade secrets to avoid consideration of that issue. Leaving this argument aside,

ABS further disputes defendants’ insistence that the WUTSA’s “willful and deliberate”

standard requires merely “misappropriation that is intentional and not accidental.” (Defs.’

Opening Br. (dkt. #808) 3.) Pointing to the legislative history of WUTSA, as well as to

various cases, ABS instead proposes five guiding principles to discern the required state of

mind:    (1) willful misappropriation requires more than “garden-variety” intentional

conduct; (2) Wisconsin courts would look to other courts applying a high bar to show

willfulness under the UTSA; (3) Wisconsin courts would look to law governing the

enhancement of patent damages for willfulness; (4) proof must be by clear and convincing

evidence; and (5) proof that ABS authorized or ratified the misappropriation would likely

be required. (Pls.’ Opp’n Br. (dkt. #840) 5-7.)

        Without engaging in an unnecessary, detailed analysis regarding each of these

principles, particularly in light of the discretion afforded by WUTSA in determining

whether fees should be awarded, the court agrees with plaintiff ABS that the weight of the


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authority suggests a showing of entitlement to fees under the willful and deliberate

misappropriation standard requires establishing some elevated degree of intentional

wrongdoing on the part of ABS, even if the misappropriation need not be malicious. See

Micro Data Base Sys., Inc. v. Dharma Sys., Inc., 148 F.3d 649, 654 (7th Cir. 1998)

(describing “willfulness or malice” required to obtain punitive damages under UTSA as

“vague terms but obviously implying some element of aggravation”); cf. Wis. Stat. §

134.90(4)(b) (permitting the court to award punitive damages when misappropriation is

“willful and malicious”) (emphasis added). 7

       Notwithstanding that XY neglected to request a jury finding on this issue, the facts

of this case generally belie any egregious wrongful conduct, especially on ABS’s part.

Instead, the facts of record establish that Kathy Mean took and used information

developed while an employee of XY without authorization to assist her in carrying out

similar job duties at ABS. The evidence is also that Mean acted unbeknownst to ABS, and

that ABS fired Mean upon discovery of her misdeeds. Further, ABS discarded her tainted

work and hired another individual to re-do it. Even crediting XY’s assertion that ABS

should have policed Mean better given her background, this would still support a finding

of mere negligence (or at the outside, gross negligence), rather than willful or deliberate

misconduct. Finally, the court does not view ABS’s litigation conduct to weigh in favor of

awarding fees, especially considering that ABS disputed in good faith whether XY’s stolen



7
  The court acknowledges some support for XY’s interpretation of what is required to show “willful
and deliberate” misappropriation, including that WUTSA “does not require actual knowledge or
intent” to prove misappropriation, Air Eng’g, Inc. v. Indus. Air Power, LLC, 2013 WI App 18, ¶ 25,
346 Wis. 2d 9, 828 N.W.2d 565, but finds that XY’s proof does not meet even this minimum
threshold for an award of fees for the reasons explained in the next paragraph above.

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information qualified as trade secrets, an issue that remained unresolved until summary

judgment. Accordingly, the court declines to award XY fees for ultimately prevailing on its

trade secret misappropriation claim.


       B. Breach of contract

       This leaves defendant ST’s claim to an attorneys’ fee award under Texas law, which

provides for recovery of fees by a party who prevails on a breach of contract claim. Tex.

Civ. Prac. & Rem. Code § 38.001(8). As plaintiff points out, however, two prerequisites

for obtaining fees are that the prevailing party (1) “must present the claim to the opposing

party,” Tex. Civ. Prac. & Rem. Code § 38.002(2), and (2) must recover damages, Coffel v.

Stryker Corp., 284 F.3d 625, 640 (5th Cir. 2002). Plaintiffs argue that ST’s fee request on

its breach of contract claim fails to satisfy either of these requirements.

       With respect to the presentment requirement, it need not be accomplished in any

particular form, whether oral or written, but it must be done “at least thirty days before

trial to provide the defendant with any opportunity to pay the claim without incurring

attorney’s fees.” 8 Belew v. Rector, 202 S.W.3d 849, 856-57 (Tex. App. 2006). In addition,

neither filing suit nor including a demand in the pleadings alone can constitute

presentment. BCL-Equip. Leasing, LLC v. Davis, Case No. 2:15-CV-195-WCB, 2016 WL

1403989, at *4 (D. Tex. Apr. 11, 2016) (citing Llanes v. Davila, 133 S.W.3d 635, 641




8
  Plaintiffs correctly point out that courts applying Texas law appear to disagree over whether
presentment must take place before trial, see Genender v. USA Store Fixtures, LLC, 451 S.W.3d 916,
924 n.13 (Tex. App. 2014), but the court need not resolve that split in authority, since defendants
failed to prove this requirement occurred before, during or after trial as explained below.

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(Tex. App. 2003)). Finally, the party seeking fees has the burden to prove presentment.

Id. (citing Canine, Inc. v. Golla, 380 S.W.3d 189, 193 (Tex. App. 2012)).

       ST insists that it presented ABS with its breach of contract claim “repeatedly,”

identifying three specific instances:      (1) “when Maurice Rosenstein raised his

confidentiality concerns in 2012”; (2) “when ST served the expert report of John Nolan

setting out the facts of ABS’s liability in October 2015”; and (3) “when ST served the

expert report of Todd Schoettelkotte in March 2016, claiming $1,000,000 in damages for

ABS’s improper use of XY’s protocols.” (Defs.’ Opening Br. (dkt. #808) 12.) As plaintiff

correctly points out, however, each of these instances do not qualify as presentment

because, among other reasons, they all fail to include a demand for payment or

performance. See, e.g., Gibson v. Cuellar, 440 S.W.3d 150, 157 (Tex. App. 2013) (“The

term ‘presentment,’ as applied in section 38.002, is not defined in the Code; however, our

supreme court has construed the word to mean simply a demand or request for payment

or performance, whether written or oral.”); Jim Howe Homes, Inc. v. Rogers, 818 S.W.3d 901,

904 n.3 (Tex. App. 1991) (“In all events, the elements of presentment in § 38.002 must

include at minimum a demand or request for payment, irrespective of what else it might

include.”) (citing Jones v. Kelley, 614 S.W.2d 95, 100 (Tex. 1981)).        Even with the

inconsistencies in Texas law regarding what suffices as presentment, therefore, ST has

failed to meet the bare minimum burden of proof with respect to that requirement using

any of these three examples.

      In any event, ST concedes that “nominal damages alone are not sufficient to sustain

an award of attorneys’ fees for breach of contract” under Texas law. (Defs.’ Opening Br.


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(dkt. #808) 12.) Nevertheless, ST acknowledges that the jury was not even asked to decide

what damages it incurred because of ABS’s breach of contract, arguing instead that its

damages were more than nominal because the jury awarded XY $750,000 for its trade

secret misappropriation claim.    Having failed to cite any authority that this court is

permitted to award a party fees for breach of contract under Texas law, despite being

awarded no damages on that claim, ST once again fails to demonstrate entitlement to fees

under Texas law. For all these reasons, defendants’ fee requests are denied.


III. Costs

       This just leaves the parties’ requests for costs. As an initial matter, there is no

dispute that ABS is entitled to recover $129,392.99 in costs incurred in obtaining

permanent injunctive relief on its monopolization claim under 15 U.S.C. § 26. Even so,

ST seeks to treat that amount as an offset to the $279,445.06 in costs it seeks under

Federal Rule of Civil Procedure 54(d)(1) as a prevailing party on certain of its

counterclaims. In response, plaintiff argues that ABS is the only prevailing party, having

“proved that ST had engaged in unlawful monopolization under § 2 of the Sherman Act,

and . . . obtained broad injunctive relief that will open the U.S. sexed bovine semen

processing market to free and fair competition,” as well as rendered “ST’s request for an

injunction a non-starter” by virtue of the jury’s monopolization finding. (Pls.’ Opp’n Br.

(dkt. #833) 1.) As described by the Seventh Circuit, “[a] party prevails for purposes of

Rule 54(d) when a final judgment awards it substantial relief.” Smart v. Local 702 Int’l Bhd.

of Elec. Workers, 573 F.3d 523, 525 (7th Cir. 2009). Rule 54(d) expressly gives the court

discretion whether to award costs, and that discretion is “especially broad . . . in mixed

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result cases[.]” Gavoni v. Dobbs House, Inc., 164 F.3d 1071, 1075 (7th Cir. 1999) (citing

Testa v. Vill. of Mundelein, Ill., 89 F.3d 443, 447 (7th Cir. 1996)).

       Here, ST achieved no more than mixed results. Certainly, ST avoided having to

pay antitrust damages; it was awarded substantial damages on its own claims; and ST

partially defended its patents and certain provisions in the 2012 Agreement against ABS’s

challenge. However, the jury also found ST had a monopoly in the U.S. sexed bovine

semen processing market, and the court entered permanent injunctive relief in ABS’s favor

as a result of that finding. This is far from inconsequential relief.

       Given the totality of what was at stake in this litigation, therefore, ST managed a

victory, albeit a narrow one, since ST’s patents at the center of the parties’ disputes were

upheld and found infringed, but ST was found to have unlawfully abused its market

position to prevent congestion. Hence, ST is a, if not the, prevailing party. Given the

“strong presumption that the prevailing party will recover costs,” Weeks v. Samsung Heavy

Indus. Co., 126 F.3d 926, 945 (7th Cir. 1997), the court, therefore, turns to ABS’s specific

objections to ST’s requested costs in the categories of transcripts, witnesses and

exemplification.


       A. Transcripts

       First, plaintiffs object to ST’s request of $15,131.65 for real-time transcription

services and of $13,188.70 for expedited rough transcripts, ostensibly because they were

only incurred for the “convenience” of counsel. The court may award costs for expedited

deposition transcripts under 28 U.S.C. § 1920(2), but only if they were “necessarily

obtained for use in the case.” See Little v. Mitsubishi Motors N. Am., Inc. 514 F.3d 699, 702

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(7th Cir. 2008). Costs for video recording a deposition can also be recoverable, so long as

they were necessary. See Split Pivot, Inc. v. Trek Bicycle Corp., 154 F. Supp. 3d 769, 774

(W.D. Wis. 2015) (citing Little, 514 F.3d at 701-02). This “determination of necessity

must be made in light of facts known at the time of the deposition, and the introduction

of a deposition at trial is not a prerequisite for finding that it was necessary to take the

deposition.” M.T. Bonk Co. v. Milton Bradley Co., 945 F.2d 1404, 1410 (7th Cir. 1991).

       In response to plaintiff’s objections, ST withdraws its request for real-time

deposition transcript costs of $15,131.65, despite continuing to contend that they are

taxable. ST maintains, however, that the rough transcripts it obtained were necessary to

prepare for imminent depositions of other witnesses, as well as court deadlines.         As

examples, ST points to rough transcripts ordered during Juan Moreno’s multiple-day

deposition, so that counsel could prepare for the following day, and to an expedited

transcript for expert witness Kevin Murphy’s deposition, which took place three weeks

before the dispositive motions deadline. In reply, plaintiffs dispute the necessity of these

transcripts, arguing that rough transcripts obtained in the course of a multiple-day

deposition are essentially the same as real-time transcripts for the convenience of counsel

and that the final transcript for Murphy’s deposition was available nearly two weeks before

summary judgment motions were due. Plaintiffs also argue that another example of a rough

transcript -- that of the deposition of their damages expert, Kirit Lezotte -- was not

necessary because that expert was not even mentioned during the deposition of ST’s damages

expert, Barry Harris.




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       Based on the examples provided, the court nevertheless agrees with ST that the

expedited rough transcripts that it ordered had the realistic potential to assist in preparing

for upcoming depositions and the summary judgment deadline.               At most, plaintiffs’

objections to the Murphy and Lezotte transcripts are based on hindsight that the court

cannot take into account in determining whether rough transcripts were necessary at the

time ordered. Moreover, as already alluded to, the complexity of this case, combined with

this court’s typically demanding schedule, made rough transcripts necessary here, or at

least ST’s counsel could have reasonably concluded at the time. Having provided no other

persuasive reason for the court to parse through specific rough transcripts that ST ordered,

plaintiffs’ objections as to those costs fall short.


       B. Video recordings

       Plaintiffs also object to ST’s request to recover $4,220.50 in costs for video

recordings of its own witnesses’ depositions, as well as $4,830 in costs for videos of

depositions of ABS’s experts. None of these videos were necessary, plaintiffs argue, because

ST was able to bring its own witnesses to trial and because “[i]f ABS’s experts were going

to testify at trial at all, they would testify live.” (Pls.’ Objs. (dkt. #833) at 8.) Plaintiffs

add that ST only used transcripts, not videos, to impeach witnesses at trial. ST, on the

other hand, contends that it contemplated introducing deposition testimony of some

witnesses at trial, although at the time each deposition was taken, ST had not yet

determined which witnesses would testify live and which by video deposition.

       Still, ST provides no persuasive reason why videotaping the depositions of its own

witnesses was reasonable or necessary. See Little, 514 F.3d at 702 (“[I]n addition to being

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authorized by statute, a cost must be both reasonable and necessary to the litigation for

the prevailing party to recover it.”). ST cites a case from this district for the proposition

that videotaping a deposition is reasonable when “there is even a slight chance that the

witness may not be present at trial,” but none of the witnesses whose depositions were

videotaped in that case were controlled by the prevailing party. Z Trim Holdings, Inc. v.

Fiberstar, Inc., No. 07-cv-161-bbc, 2008 U.S. Dist. LEXIS 61514, at *3 (W.D. Wis. Aug.

12, 2008). Further, ST identifies no reason to think that any of its own witnesses would

be unable or unwilling to be present at trial, other than caused by its own indecision. Id.

Therefore, while ST may have had a sound reason for videotaping with respect to some

witnesses, it has presented an insufficient basis for the court to find that costs for

videotaping depositions of its own witnesses were necessarily incurred, and so its request

for costs will be deducted by $4,220.50. 9

        The necessity of ST’s video recording of the deposition testimony of ABS’s expert

witnesses presents a closer question. As ST points out, not using the videos to impeach

those experts at trial is not dispositive, since the necessary inquiry is made at the time of

the deposition itself. Furthermore, given that the videotaped depositions were for ABS’s

experts, who were likely to present testimony critical to the case one way or the other,

plaintiffs’ invitations for the court to scrutinize ST’s decision to tape that testimony further

is unpersuasive.




9
 This is not intended as a blanket rule. Rather, absent some articulated concern or justification, a
party is not entitled to the costs of a decision to video record all of its own witnesses as a matter of
course.


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          C. Witnesses

          Next, plaintiffs object to more than $12,000 in costs that ST requests for witness

fees under 28 U.S.C. § 1920(3). As an initial matter, ST withdraws its requests for costs

related to certain invoices, rental car expenses, shipping expenses and first class plane

tickets, amounting to a total reduction of $4,773.94. This leaves the parties’ disputes

surrounding costs for (1) meals and lodging for witnesses in excess of the maximum per

diem allowance under 28 U.S.C. § 1821(d)(2) and (2) the travel costs for a deposition

incurred by ST’s expert, Cynthia Ludwig.

             1.   Subsistence allowances

          As to the first of these disputes, plaintiffs point out that the maximum daily

allowance for Madison, Wisconsin, in August of 2016 under the government (GSA) rate

was $164 per day. 10 Assuming that the number of nights for which ST seeks costs for

witness fees is reasonable, this would result in a maximum allowance of $3,608. In support

of their argument that this per diem rate should set a ceiling on a witness’s daily lodging

and meal expenses, plaintiffs cite several cases, including Commercial Credit Equipment Corp

v. Stamps, 920 F.2d 1361, 1368 n.10 (7th Cir. 1990), for the proposition that “Rule 54(d)

cannot overcome a specific limitation such as the 28 U.S.C. 1821 per diem witness fee.”

(Pl.’s Objs. (dkt. #833) 8; Defs.’ Reply (dkt. #849) 4.) On the other hand, ST cites a

single district court case in which a party recovered lodging costs in excess of the per diem

rate. See e2Interactive, Inc. v. Blackhawk Network, Inc., No. 09-cv-629-slc, 2015 WL 751728

(W.D. Wis. Feb. 23, 2015).



10
     The per diem rate for fiscal year 2016 is available at https://www.gsa.gov/portal/category/ 100120.

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       Based on the weight of the authority, as well as ST’s failure to demonstrate the

reasonableness of the expenses for its witnesses’ lodging and meals beyond the per diem

allowance, the court will reduce ST’s award of costs to that allowance. See, e.g., United

Teacher Assocs. Ins. Co. v. Union Labor Life Ins. Co., 414 F.3d 558, 575 (5th Cir. 2005) (“This

court has held that an award of costs must be vacated when the costs exceed the maximum

per diem amount permitted by statute.”); 10 Charles Alan Wright, Arthur R. Miller &

Mary Kay Kane, Federal Practice and Procedure § 2678 (3d ed.) (“The statutory amounts

[for subsistence allowances in § 1821] usually will be awarded regardless of whether the

witness spends the per diem allotment. If the witness is paid more by the prevailing party,

however, nothing over the amount prescribed in the statute will be recoverable.”). The

same reduction is appropriate for $54.97 in “incidentals during trial” incurred by ST’s

witness Juan Moreno. (Pl.’s Objs. (dkt. #833) 10.) Accordingly, ST’s award of costs for

witness subsistence allowances is further reduced to $3608. 11

           2. Travel for Cynthia Ludwig

       Plaintiff argues that it should not have to foot the bill for $2,181.14 in expenses

that ST’s expert witness, Cynthia Ludwig, incurred in traveling for her deposition from St.

Louis, where she lives, to Houston, where the ST attorney who defended her deposition

works. According to plaintiffs, Ludwig’s travel was only for ST’s convenience, since “ABS’s

counsel would have been willing to take her deposition in St. Louis.” (Id. at 10.)




11
   The parties do not provide a detailed breakdown of what portion of ST’s initial request for
$19,532.27 in witness costs was allocated to lodging and meals for its witnesses, so the court will
simply reduce ST’s total request for $4,928 in lodging expenses for its witnesses by $1,320 to reach
a total subsistence allowance of $3,608.

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       The court agrees with plaintiff. ST’s only arguments in response to plaintiffs’

objection is that “Ms. Ludwig reasonably and necessarily traveled to Houston for the

deposition that ABS’s counsel took, and her travel reduced overall costs in the litigation

for both parties.” (Def.’s Opp’n Br. (dkt. #846) 9-10.) Neither argument, however,

disputes ABS’s assertion that deposing Ludwig in Houston was not its call, and ST does

not otherwise explain why it was reasonable to rack up over $1,300 in lodging for that

deposition. 12 Accordingly, ST’s fee award will also be reduced by $2,181.14.


       D. Exemplification

       Finally, plaintiffs object to certain categories of exemplification costs, which are

recoverable under § 1920(4) as “costs of making copies of any materials . . . necessarily

obtained for use in the case.” In response to plaintiffs’ objections, and in light of the

consensus approach regarding recovery for ESI costs after the Third Circuit’s decision in

Race Tires America, Inc. v. Hoosier Racing Tire Corp., 674 F.3d 158 (3d Cir. 2012), ST reduces

its request for ESI costs (beyond those for conversion of native files to TIFF formats) by

$63,159.89. As a result, the parties’ remaining disputes regarding exemplification costs

only concern: (1) ST’s costs for renting two photocopiers for trial; and (2) “trial

technology” costs for “the services of [ST’s] internal graphics and trial technology team to




12
  Walters, which ST cites for the proposition that “this District has awarded such costs before”
(Defs.’ Opp’n Br. (dkt. #846) 10) is inapposite. As the court noted explicitly in that case, the
FMLA permits recovery of “‘reasonable out-of-pocket expenses,’ including ‘costs beyond those
normally allowed under Fed. R. Civ. P. 54(d).’” 91 F. Supp. 3d at 1085 (quoting Smith v. Diffee
Ford-Lincoln-Mercury, Inc., 298 F.3d 955, 968-69 (10th Cir. 2002)). Regardless, it was incumbent
on ST to give good reasons for this travel (e.g., it was cheaper overall to have the witness come to
ST’s counsel), and ST failed to meet this burden.

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provide graphics and technological support, and prepare demonstratives throughout trial.”

(Defs.’ Opening Br. (dkt. #816) 20.)

          1.   Photocopier rentals

       The dispute over costs for photocopier rentals turns on whether the costs can be

described as necessary or merely for counsel’s convenience in avoiding the use of a local

vendor to make copies. In support of their positions, the parties cite various, out-of-circuit

district court cases answering this question differently.       Compare Balance Point Divorce

Funding, LLC v. Scrantom, 305 F.R.D. 67, 76 (S.D.N.Y. 2015) (“rental costs for . . . leasing

photocopying equipment are not taxable as ‘making copies’”), with Abbott Point of Care, Inc.

v. Epocal, Inc., Civil Action No. CV-08-S-543-NE, 2012 WL 7810970, at *5 (N.D. Ala.

Nov. 5, 2012) (“Abbott has presented no convincing argument or authority that expenses

for the rental of photocopiers during trial should not be allowed as part of copying costs

under 28 U.S.C. § 1920(4).”). In light of this conflicting authority, as well as ST’s failure

to otherwise demonstrate how the costs of renting two photocopiers for trial were

reasonable and necessary, the court will decline to award those costs, thus reducing ST’s

recovery of costs further by $8,337.16. 13

          2.   Trial technology costs

       The parties’ dispute regarding ST’s trial technology costs has a similar tenor, with

ABS pointing to Taniguchi v. Kan Pacific Sapian, Ltd., 566 U.S. 560 (2012), and several




13
   Again, this is not to render a blanket prohibition on the award of such costs. Rather, ST has
failed in its burden of proof to show the anticipated volume of copies made renting copiers cost
effective over outsourcing copiers, relying on electronic copies or obtaining a space with copiers
available.

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district court cases decided after that decision.       In Taniguchi, the Supreme Court

emphasized that “taxable costs are limited by statute and are modest in scope,” ultimately

holding that “the category ‘compensation of interpreters’ in § 1920(6) does not include

costs for document translation.” Id. at 2006-07. District courts have cited Taniguchi in

deciding whether the prevailing party should receive costs for in-courtroom technology

assistance. See Broadspring, Inc. v. Congoo, LLC, No. 13-cv-1866 (RJS), 2016 WL 817449,

at *5-6 (S.D.N.Y. Feb. 24, 2016), vacated in part on other grounds sub nom., Broadspring, Inc.

v. Nashed, 683 F. App’x 13 (2d Cir. 2017) (rejecting taxation of costs for “assistance with

trial graphics and demonstrative services at trial”); Fowler v. Cal. Highway Patrol, Case No.

13-cv-01026-TEH, 2014 WL 3965027, at *4 (N.D. Cal. Aug. 13, 2014) (same for “in-

court technical support and equipment rental fees”).

       ST would disagree, pointing to the Seventh Circuit’s decision in Cefalu v. Village of

Elk Grove, 211 F.3d 416 (7th Cir. 2000), which held that costs were taxable under Taniguchi

for “a computerized, multi-media system [the defendants] employed to present their

exhibits to the jury.” Id. at 427. In support, ST cites district court cases from this circuit

that post-date Taniguchi and still tax costs related to demonstrative exhibits. Consistent

with Cefalu, however, those cases permitted exemplification costs for the preparation of

multimedia demonstrative exhibits, not for presenting those exhibits at trial. See, e.g.,

Artunduaga v. Univ. of Chi. Med. Ctr., Case No. 12 C 8733, 2017 WL 1355873, at *4 (N.D.

Ill. Apr. 13, 2017) (reducing request for $12,460 in costs for a third party’s “trial

technology” services to $510 for six hours of video editing, excluding costs for “assist[ing]

counsel with presenting evidence at trial”); Johnson v. Allstate Ins. Co., No. 07-cv-0781-


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SCW, 2012 WL 4936598, at *8 (S.D. Ill. Oct. 16, 2012) (taxing “service costs in hiring a

third party . . . to prepare graphics”). On this issue, therefore, the weight of the authority

is clearly in plaintiff’s favor, and the court will further reduce ST’s trial technology costs

by $112,234.

       The court’s costs reductions and award for ST are summarized as follows:

 Category            Initial Request        Voluntary        Court           Total
                                            Reduction        Reduction       Reduction
 Total Costs         $362,510.54

 Transcripts         $118,307.95            $15,131.65       $4,220.50       $19,352.15

 Witnesses           $19,532.27             $4,773.94        $3501.14        $8,275.08

 Exemplification     $222,392.43            $63,159.89       $120,571.16     $183,731.05

 Costs owed ABS      $129,392.99            n/a              n/a             ($129,392.99)

                                                                             Final Award:

                                                                             $ 21,759.27



                                          ORDER

       IT IS ORDERED that:

       1) Defendant Inguran, LLC (“ST”) and defendant XY LLC’s motion for attorneys’
          fees (dkt. #807) is DENIED.

       2) Plaintiff’s motion for attorneys’ fees (dkt. #810) is GRANTED IN PART and
          DENIED IN PART as set forth above.

       3) Defendants’ bill of costs (dkt. #814) is GRANTED IN PART and DENIED IN
          PART as set forth above.

       4) Plaintiff’s bill of costs (dkt. #817) is GRANTED.

       5) Plaintiff’s motion for leave to file a reply brief (dkt. #847) is GRANTED.


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 6) Attorneys’ fees are awarded in favor of plaintiff ABS Global, Inc. and against
    defendants in the amount of $4,865,324.13, plus post-judgment interest of
    1.02%, compounded annually, between April 21, 2017, and the date of
    payment.

 7) Costs are awarded in favor of defendant ST and against plaintiffs in the amount
    of $21,759.27 in costs.

 Entered this 27th day of September, 2018.


                                   BY THE COURT:


                                   /s/
                                   __________________________________
                                   WILLIAM M. CONLEY

                                   District Judge




                                     33
